Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 1 of 6




                      EXHIBIT 13
Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 2 of 6
Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 3 of 6
Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 4 of 6
Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 5 of 6
Case 1:04-cv-10981-PBS Document 1675-14 Filed 02/23/09 Page 6 of 6
